           Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 1 of 67




                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

SUNIL AMIN and TRUSHAR                     COMPLAINT - CLASS ACTION
PATEL, on behalf of themselves and         FOR:
all others similarly situated,
                                           (1)    Breach of Express Warranty
                 Plaintiffs,               (2)    Breach of Express Warranty –
                                                  Magnuson-Moss Warranty Act
v.                                         (3)    Breach of Implied Warranty
                                           (4)    Breach of Implied Warranty –
MERCEDES-BENZ USA, LLC and                        Magnuson-Moss Warranty Act
DAIMLER AG,                                (5)    Violations of Georgia Fair
                                                  Business Practices Act
                 Defendants.               (6)    Violations of Uniform Deceptive
                                                  Trade Practices Act
                                           (7)    Breach of Implied Warranty of
                                                  Merchantability
                                           (8)    Fraud by Concealment
                                           (9)    Unjust Enrichment
                                           JURY TRIAL DEMANDED



                                 INTRODUCTION
      1.      Plaintiffs Sunil Amin and Trushar Patel bring this action individually
for themselves and on behalf of all persons who purchased or leased in Georgia
certain vehicles equipped with uniform and uniformly defective HVAC Systems
designed, manufactured, distributed, warranted, marketed, and sold or leased by
Mercedes-Benz USA, LLC (“MBUSA”) and Daimler AG (“Daimler”)
(collectively, “Mercedes”), as described below.




                                         -1-
           Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 2 of 67




      2.      The vehicles at issue in this action include the 2004-2012 Mercedes
A-Class, 2001-2017 Mercedes C-Class, 2000-2014 Mercedes CL-Class, 2013-
2017 Mercedes CLA-Class, 2003-2009 Mercedes CLK-Class, 2004-2017
Mercedes CLS-Class, 2003-2016 Mercedes E-Class, 2007-2017 Mercedes GL-
Class, 2010-2016 Mercedes GLK-Class, 2006-2016 Mercedes M-Class, 2017
Mercedes GLE-Class, 2006-2015 Mercedes R-Class, 1999-2017 Mercedes S-
Class, 2003-2012 Mercedes SL-Class, 2004-2016 Mercedes SLK-Class, and 2002-
2013 Maybach 57 and 62 (the “Class Vehicles”).1
      3.      This action is brought to remedy violations of law in connection with
Mercedes’s design, manufacture, marketing, advertising, selling, warranting, and
servicing of the Class Vehicles. The Class Vehicles’ heating, ventilation, and air
conditioning systems (“HVAC Systems”) have a serious design defect that causes
the HVAC System to (a) accumulate mold and mildew residue or growth within
the HVAC System; (b) emit a moldy or mildewy odor that permeates the vehicle
cabin when the HVAC System is activated; and (c) cause the Vehicle’s passenger
cabin to be unbearable and thus unusable for its intended purpose.
      4.      On information and belief, the HVAC Systems are substantially the
same, from a mechanical engineering standpoint, in all Class Vehicles, in that the
HVAC System in each Class Vehicles is made up of substantially the same
components (e.g. evaporator, evaporator housing, ducting, fan, filter, drain lines,
etc.), and employs the same general mechanism to deliver ventilation, heating, and
cooling to the passenger cabin.



1
 Discovery will enable Plaintiffs to more precisely determine which model-years
share the same uniform (and uniformly defective) HVAC System design.


                                        -2-
            Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 3 of 67




       5.      Because of its faulty design, during normal and expected conditions
the HVAC System fails to properly evaporate or drain the condensation that
accumulates within the system, creating a moist, hospitable environment for the
growth of bacteria, fungus, mold, and spores, which then are blown into the
passenger cabin when the HVAC System is in use (the “Defect” or “HVAC
System Defect”). The mold-carrying air has a foul, mildewy smell that is highly
unpleasant and can cause respiratory problems and aggravate allergies.
       6.      The moldy, smelly air emitted by the HVAC System Defect is not a
one-time event in the Class Vehicles – Class Members report it occurs every time
the HVAC System is turned on, and is especially pervasive in humid weather or
after it has rained.
       7.      When Plaintiffs and Class Members complain to Mercedes about the
HVAC System Defect, Mercedes’s only “solutions” are temporary “band aids”
such as replacement of the cabin air filter, “flushing the system,”2 and applying
various cleaners, none of which remedies the original defective HVAC System
design, and therefore are not permanent fixes for the Defect. What is worse,
Mercedes made Class Members pay out of pocket for these nonpermanent
“solutions” for the HVAC System Defect even if Class Members’ vehicle
remained under warranty at the time.
       8.      The HVAC System Defect inhibits Class Members’ proper and
comfortable use of their Class Vehicles’ HVAC Systems, and requires Class
Members to pay for repeated temporary “band aid” services for the HVAC System.


2
 “Flushing the system” consists of partially disassembling the dashboard and
drilling a hole into the HVAC System and applying a disinfecting solution to the
evaporator coil.


                                         -3-
           Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 4 of 67




      9.      On information and belief, prior to the manufacture and sale of the
Class Vehicles, Mercedes knew of the HVAC System Defect through, or as
evidenced by, sources such as pre-release design and testing information;
arbitration panel decisions; technical service bulletins; service center data;
replacement part sales data; early consumer complaints made directly to Mercedes,
collected by the National Highway Transportation Safety Administration’s Office
of Defect Investigation (“NHTSA ODI”), and/or posted on public online vehicle
owner forums; testing done, including testing in response to consumer complaints;
aggregate data from Mercedes dealers; and other internal sources unavailable to
Plaintiffs without discovery. Yet despite this knowledge, Mercedes failed to
disclose and actively concealed the HVAC System Defect from Class Members
and the public, and continued to market and advertise the Class Vehicles as
“sophisticated,” “comfortable,” and “state-of-the-art” vehicles, which they are not.
      10.     Mercedes knew or should have known that the “solutions” it charged
Class Members for to “remedy” the HVAC System Defect – replacing the cabin air
filter, “flushing the system,” using cleaners – were not permanent solutions for the
Defect.
      11.     Mercedes has failed to provide a permanent in-warranty fix for the
Defect and failed to reimburse Class Members for the costs of its inadequate and
temporary “solutions.”
      12.     As a result of Mercedes’s alleged misconduct, Plaintiffs and Class
Members were harmed and suffered actual damages, in that the Class Vehicles
have manifested, and continue to manifest, the HVAC System Defect, and
Mercedes has not provided a permanent remedy for this Defect. Furthermore,




                                         -4-
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 5 of 67




Plaintiffs and Class Members incurred, and will continue to incur, out-of-pocket
unreimbursed costs and expenses relating to the HVAC System Defect.

                                     PARTIES
      Plaintiff Sunil Amin
      13.    Plaintiff Sunil Amin resides in Atlanta, Georgia.
      14.    Mr. Amin owns a 2013 Mercedes C250 Coupe, which he purchased
new on November 10, 2012, from RBM of Atlanta North in Alpharetta, Georgia.
      15.    Mr. Amin’s Class Vehicle was manufactured, sold, distributed,
advertised, marketed, and warranted by Mercedes, and bears the Vehicle
Identification No. WDDGJ4HB0DF966835.
      16.    Mr. Amin purchased the Class Vehicle for his personal, family, and
household use.
      17.    Mr. Amin expected his Class Vehicle to be of good and merchantable
quality and not defective. He had no reason to know, or expect, that mold would
develop in his vehicle’s HVAC System, nor was he aware from any source prior to
purchase of the unexpected, extraordinary, and costly maintenance steps Mercedes
suggests are necessary to prevent the development of mold. Had he known these
facts, he would not have bought his Class Vehicle or would have paid less for it.
      18.    Mr. Amin first experienced a noxious odor caused by the HVAC
System in approximately January of 2014.
      19.    Since that time, the noxious odor has continued unabated. The HVAC
System emits the odor when the vehicle’s climate control system is first engaged
and generally persists.
      20.    The strength of the odor intensifies after any periods of rain.




                                         -5-
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 6 of 67




      21.    Mr. Amin regularly saw advertisements for Mercedes vehicles on
television, in magazines, on billboards, in brochures at the dealership, and on the
Internet during the years before he purchased his Mercedes C250 Sports Coupe in
2012. Although he does not recall the specifics of the many Mercedes
advertisements he saw before he purchased his Sports Coupe, he does recall that
state-of-the-art engineering and a comfortable interior were frequent themes across
the advertisements he saw. Those advertisements about state-of-the-art engineering
and a comfortable interior influenced his decision to purchase his vehicle. Had
those advertisements or any other Mercedes materials disclosed to Mr. Amin that
the Class Vehicles had defective HVAC Systems, or that he would have to pay for
repairs/replacement of the HVAC System and/or air filtration system, he would
have purchased his Class Vehicle, or would have paid less for it.
      22.    On January 29, 2016 Mr. Amin, through counsel, sent Mercedes a
letter sent pursuant to the Georgia Fair Business Practices Act, O.C.G.A. § 10-1-
390, et seq., requesting relief and repair of the defects exhibited in Class Vehicles
for Mr. Amin and others similarly situated. Mercedes responded through counsel.
It denied the existence of any defect, did not offer to repair Mr. Amin’s or anyone
else’s vehicles, did not offer to compensate out-of-pocket expenses for all those
who have incurred them, and did not guarantee to honor warranty claims for the
HVAC System Defect going forward. Instead, it offered only a small sum to
resolve Mr. Amin’s individual claim alone. Further, Mercedes characterized the
problem as “a maintenance issue,” presumably implying that all purchasers who
have experienced foul odors failed to properly maintain their Class Vehicles. Mr.
Amin found this response from Mercedes to be unsatisfactory .




                                         -6-
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 7 of 67




      Plaintiff Trushar Patel
      23.    Plaintiff Trushar Patel resides in Johns Creek, Georgia.
      24.    Dr. Patel owns a 2014 Mercedes E350 Sedan, which he purchased
new on January 16, 2015, from Mercedes-Benz of Buckhead in Atlanta, Georgia,
along with a Mercedes Pre-Paid Service Plan.
      25.    Dr. Patel’s Class Vehicle was manufactured, sold, distributed,
advertised, marketed, and warranted by Mercedes, and bears the Vehicle
Identification No. WDDHF5KBXEA997500.
      26.    Dr. Patel purchased the Class Vehicle for his personal, family, and
household use.
      27.    Dr. Patel expected his Class Vehicle to be of good and merchantable
quality and not defective. He had no reason to know, or expect, that mold would
develop in his vehicle’s HVAC System, nor was he aware from any source prior to
purchase of the unexpected, extraordinary, and costly maintenance steps Mercedes
suggests are necessary to prevent its development. Had he known these facts, he
would not have bought his Class Vehicle or would have paid less for it.
      28.    Dr. Patel first experienced a noxious, pungent, sour, musty odor
caused by the HVAC System in approximately March or April 2015.
      29.    Since that time, the noxious odor has continued unabated. The HVAC
System emits the odor when the vehicle’s climate control system is first engaged
and generally persists.
      30.    The strength of the odor intensifies after any periods of rain.
      31.    At its very first service, “Service A,” Dr. Patel explained the problem
of a smell that is quite often “ripe” to his service advisor at Mercedes-Benz of
Buckhead. Although Dr. Patel reasonably believed that the repair would be



                                         -7-
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 8 of 67




covered under the warranty and/or his prepaid service plan, the authorized
Mercedes dealer claimed that the filter needed replacing at a cost of $185 to Dr.
Patel. When Dr. Patel inquired as to why the filter needed replacement so soon, he
was advised that the filter required replacement every year. Dr. Patel explained that
the vehicle was only purchased and in use since January and shouldn’t require a
filter that soon. The service advisor told Dr. Patel that the remedy was not covered
by his prepaid service or warranty and that the filter would only be replaced in the
next service, “Service B.”
      32.    Prior to this purchase, Dr. Patel had previously purchased and owned
Mercedes vehicles but did not experience any odor issues with those vehicles.
      33.    Prior to this purchase, Dr. Patel was not advised of the Defect and
tendency, known by Mercedes, of his new vehicle to emit noxious odors prior to
purchasing it. He relied upon Mercedes’s assertions of the capabilities and comfort
of his new vehicle via salesmen and brochures and ads. He also reasonably
expected that Mercedes would stand behind its products and claims for warranty
benefits by a long-time and repeat customer – especially when the problem/defect
manifested within a few months of a new vehicle’s purchase. Dr. Patel reasonably
expected to receive a vehicle with state-of-the-art engineering and a comfortable
interior. Advertisements about state-of-the-art engineering and a comfortable
interior, recommendations and personal experience with his Mercedes dealer
influenced his decision to purchase his vehicle. Had those advertisements or any
other Mercedes materials or personnel disclosed to Dr. Patel the nature of the
defect in the Class Vehicle’s HVAC Systems, or that he would have to pay for
repairs/replacement of the HVAC System and/or air filtration system, he would not
have purchased his Class Vehicle, or would have paid less for it.



                                        -8-
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 9 of 67




      34.    For further peace of mind with his new purchase, Dr. Patel purchased
an additional Mercedes Pre-Paid Service Plan (“Plan”) with his vehicle. He
expected peace of mind and protection against surprise billings or expenses. The
Plan documents stated “you don’t have to worry about any unexpected bills. This
frees you from additional workshop costs as unexpected repairs, maintenance or
wear parts are already covered, depending on the specific service contract[]. You
therefore don’t have to worry about workshop bills and your Mercedes remains in
top condition. With the service contract you will always receive Mercedes-
Benz quality – with the service of our qualified workshop specialists
and Mercedes-Benz Genuine Parts.”
      35.    Because of the foul odors generated by the HVAC System Defect, Dr.
Patel’s enjoyment and use of his Class Vehicle were and are curtailed. He is forced
to leave his windows open to vent his Class Vehicle whenever reasonably possible.
He avoids parking in open areas where rain could fall on the vehicle and
exacerbate the odors. He unsuccessfully attempted to mitigate the odors by
adjusting HVAC settings to try and find an acceptable level that would not release
odors. Dr. Patel purchased and installed air fresheners at an estimated cost of
$25.00 to attempt to mask the smell. He and his family were forced to endure
unpleasant smells in a brand new vehicle almost from the onset of its use.
      Defendant Mercedes-Benz USA, LLC
      36.    Defendant Mercedes-Benz USA, LLC (“MBUSA”) is a Delaware
corporation with its principal place of business in Atlanta, Georgia.
      37.    Prior to July 2015, MBUSA’s principal place of business was in
Montvale, New Jersey.
      38.    MBUSA is a wholly owned subsidiary of Daimler.



                                        -9-
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 10 of 67




      39.    At all times relevant herein, MBUSA has been and has acted as an
agent of Daimler and subject to Daimler’s control.
      40.    At all times relevant herein, MBUSA (itself and through its related
entities) engaged in the business of marketing, warranting, distributing, selling,
leasing, and servicing automobiles, including the Class Vehicles, throughout the
United States.
      Defendant Daimler AG
      41.    Defendant Daimler AG (“Daimler”) is a German corporation with its
principal place of business in Stuttgart, Germany.
      42.    At all times relevant herein, Daimler (itself and through its related
entities) engaged in the business of designing and manufacturing the Class
Vehicles.
      43.    Upon information and belief, Daimler was solely responsible for
designing the Class Vehicles, including their defective HVAC Systems, and
therefore is an essential party to this action concerning a design defect in the Class
Vehicles’ HVAC Systems.
      44.    Upon information and belief, Daimler has, and at all relevant times
had, the contractual right to exercise, and in practice has exercised, control over
MBUSA’s work, including but not limited to the design of Class Vehicles, the
manner of Class Vehicles’ marketing, the scope of written warranties, the scope of
repairs in practice to be covered under warranty, and representations made and
facts withheld from consumers and the public about the HVAC System Defect.
Daimler has been directly involved in assisting, directing, and controlling
MBUSA, and MBUSA’s authorized dealers’ handling of Class Member
complaints regarding the HVAC System Defect.



                                        - 10 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 11 of 67




      45.    Daimler has held MBUSA out as its agent for all purposes in the
United States, but especially for sales and marketing of Class Vehicles and for
ongoing management of relationships with purchasers and lessees of Class
Vehicles. It established MBUSA as its wholly-owned subsidiary company. It
named MBUSA with its official “Mercedes-Benz” title. It provided MBUSA with
marketing and technical materials avoiding any distinction between MBUSA and
Daimler, and instead representing MBUSA as nothing less than Daimler’s presence
in the United States for purposes of selling and leasing “Mercedes-Benz” brand
vehicles and providing related services.
      46.    Based on the foregoing actions, representations, and omissions,
Plaintiffs and Class Members justifiably relied on MBUSA’s representations
regarding the Class Vehicles that were the responsibility of Daimler in, for
example, Daimler’s design of the Class Vehicles, and were injured because of their
purchase or lease of defective Class Vehicles.

                                  JURISDICTION
Subject-matter jurisdiction
      47.    This Court has federal question jurisdiction over this action under 28
U.S.C. § 1331 because this case includes claims arising under federal law.
      48.    Additionally, the elements of subject matter jurisdiction pursuant to
28 U.S.C. §1332(d) and the Class Action Fairness Act are present: the amount in
controversy exceeds $5,000,000, and Defendant Daimler is a citizen of a foreign
country, and is thus diverse from Plaintiffs and Class Members.
      49.    This Court has supplemental jurisdiction over the remaining claims
pursuant to 28 U.S.C. §1367(a).
Personal jurisdiction: MBUSA



                                       - 11 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 12 of 67




       50.    This Court has personal jurisdiction over MBUSA because MBUSA
is authorized to do business in this District, conducts substantial business in the
District, has its principal place of business in the District, is at home in the District,
and some of the actions giving rise to the complaint took place in the District.
Each of these facts independently, but also all of these facts together, are sufficient
to render the exercise of jurisdiction by this Court over MBUSA permissible under
traditional notions of fair play and substantial justice.
       51.    This Court also has personal jurisdiction over MBUSA under 18
U.S.C. § 1965 because MBUSA is found in, has an agent in, or transacts business
in this District.
Personal jurisdiction: Daimler
       52.    This Court has personal jurisdiction over Daimler because Daimler
has continuous and systematic general business contacts in this District.
       53.    By headquartering its wholly owned subsidiary MBUSA in this
District, and using MBUSA as its channel for marketing, distributing, warranting,
selling and leasing the Daimler-designed Class Vehicles in the District and the
United States, Daimler itself has deliberately taken affirmative steps to make
Daimler-designed vehicles available to consumers in the District and the rest of
Georgia, including Plaintiffs and Class Members; created continuing obligations
between Daimler and residents of the District; and purposefully availed itself of the
benefits and protections of conducting business in the District.
       54.    Daimler employees and representatives regularly visit MBUSA,
thereby continuously conducting business in this District.
       55.    Further, Daimler’s wholly owned subsidiary MBUSA is at home in
this District, and MBUSA’s contacts in this District can be attributed to Daimler.



                                          - 12 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 13 of 67




      56.    Plaintiffs’ claims here arise out of Daimler’s contacts with this
District, particularly in that Plaintiffs could not even have purchased/leased their
Class Vehicles if not for Daimler’s intentional acts of designing the Class Vehicles
(including their defective HVAC Systems) and exporting them for sale to
customers in this District and the rest of Georgia, including Plaintiffs and Class
Members.
      57.    These constitute sufficient bases to render the exercise of jurisdiction
over Daimler by this Court permissible under traditional notions of fair play and
substantial justice.

                                       VENUE
      58.    Venue is proper in this District under 28 U.S.C. § 1391 because
Defendants, as corporations, are deemed to reside in any judicial district in which
they are subject to personal jurisdiction.
      59.    Additionally, Defendants transact business within the District,
MBUSA has its principal place of business in this District, and some of the events
establishing the claims occurred in this District.

                               APPLICABLE LAW
      60.    Plaintiffs seek damages and equitable relief on behalf of themselves
and the Class Members, under federal law as to the federal-law claims, and under
Georgia law, or, in the alternative, under New Jersey law as to the state-law claims.

                           FACTUAL ALLEGATIONS
      61.    Plaintiffs bring this action for themselves and on behalf of the Class
Members. Plaintiffs are informed and believe that, because of the HVAC System
Defect, the HVAC Systems in the Class Vehicles are predisposed to produce a




                                         - 13 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 14 of 67




moldy odor under normal use conditions that would not cause non-defective
HVAC systems to produce a moldy odor, compromising the comfort and
enjoyment of Class Vehicle occupants, including Class Members, and requiring
Class Members to pay for repeated nonpermanent “solutions” that do not prevent
the recurrence of the problem.
      62.    On information and belief, the diagram below illustrates the
components and functioning of the HVAC Systems; it is provided for illustrative
purposes only:




      63.    As a vehicle’s HVAC system cools air, condensation forms on a
component called an evaporator (labeled “3” in the diagram above). In a non-
defective system, this condensation is evaporated through the activation of a fan
and airflow over the evaporator.
      64.    On information and belief, condensation that builds on the evaporator
and elsewhere within the Class Vehicles’ HVAC Systems is never properly and



                                       - 14 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 15 of 67




fully evaporated. This residual moisture provides a haven for the growth of mold
and mildew as spores enter the system through outside vents.
      65.    Based on preliminary investigation and inspection, due to the HVAC
System Defect, several mold species, including Aspergillus/Penicillium,
Ascospores, and Smut/Periconia/Myxomy, are present in the evaporator of Class
Vehicles. These molds are known to secrete mycotoxins such as Patulin, creating
and contributing to the foul odors experienced by Plaintiffs and Class Members.
      66.    Mycotoxins are toxic to human and animals and known to cause some
or all of the following: allergic reactions, infections, cellular damage, DNA
damage, interference with RNA synthesis, inflammation, gastroenteritis, and other
harmful effects.
      67.    Mercedes knew or should have known that having a damp, poorly
draining, component that could promote the growth of mold; and could result in or
at least promote reactions, diseases, symptoms, or complications in passengers of
Class Vehicles, presenting a risk to their health and safety, especially when the
growth is in the airway to a tightly sealed and enclosed space containing one or
more human beings and animals.
      68.    Over time, the mold/mildew/fungus growing in the evaporator can
spread, resulting in reduced HVAC System efficiency, while also becoming more
difficult to remove and requiring evaporator replacement in some instances.
      69.    Moreover, the tightly sealed and enclosed passenger compartment
causes concentration levels of toxic smells and chemicals to become much higher
than in larger and less tightly sealed spaces.
      70.    Replacing the filter is not a permanent fix for the HVAC System
Defect because the filter is “upstream” from the evaporator.



                                         - 15 -
          Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 16 of 67




         71.   “Flushing the system” and the use of various cleaning products are not
permanent fixes for the HVAC System Defect because they do not address the
fundamental design Defect that allows the growth of odor-causing mold in the first
place.

         A.    Mercedes Knew of the HVAC System Defect Prior to Sale or
               Lease of the Class Vehicles.
         72.   On information and belief, prior to the manufacture and sale of the
Class Vehicles, Mercedes knew of the HVAC System Defect through, or as
evidenced by, sources such as pre-release design and testing information;
arbitration panel decisions; technical service bulletins; service center data;
replacement part sales data; early consumer complaints made directly to Mercedes,
collected by NHTSA ODI, and/or posted on public online vehicle owner forums;
testing done, including testing in response to consumer complaints; aggregate data
from Mercedes dealers; and other internal sources unavailable to Plaintiffs without
discovery.

         B.    Mercedes Was Directly Made Aware of the Defect Via a
               Successful Consumer Arbitration Action Brought Against It.
         73.   Mercedes learned of the HVAC System Defect at least as early as
2008, when a Class Vehicle owner brought – and won – a consumer arbitration
action against Mercedes for the Defect.
         74.   The following is a synopsis of the Florida Consumer Complaint and
Arbitration decision rendered against Mercedes in Fattah v. Mercedes-Benz USA,
Inc., 2008-0441/MIA (Fla. NMVAB November 14, 2008):
               The Consumer complained of a foul musty odor coming
               from the air conditioner vents in her 2007 Mercedes
               C230. The Consumer testified that the severity of the



                                         - 16 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 17 of 67




             odor had reduced; however, the odor still existed. The
             Manufacturer contended that the alleged defect did not
             substantially impair the use, value or safety of the
             vehicle. While not denying the existence of the odor, the
             Manufacturer asserted that outside elements and humid
             South Florida temperatures contributed to the odor. The
             Board rejected the Manufacturer’s argument and found
             that the odor substantially impaired the use, value and
             safety of the vehicle. Accordingly, the Consumer was
             awarded a refund.3

      75.    During the arbitration hearing, Mercedes was represented by counsel,
a MBUSA representative out of headquarters (then in Montvale, New Jersey), a
MBUSA Technical Specialist for the South Florida region, and the Service
Manager at the dealership the consumer had visited complaining about the odor.
      76.    Mercedes described the HVAC System Defect during the hearing:
“The system works in such a way that it will – the AC is supposed to get rid of all
the humidity from the air, ok? And in some cases, you know, where you shut the
car off, some water will remain in the evaporator … what happens is it will
accumulate there. It will not fully drain.” Mercedes went on to say that the water
that accumulates is what ultimately leads to the moldy odor.
      77.    Under questioning from the Arbitration Board, Mercedes admitted
that as long as the consumer keeps the car, she’s going to have to keep getting
Mercedes’s temporary “fix”, which one Board member called “a band-aid.”
      78.    The Board found:
             The issue with the vehicle is that it’s got a musty smell,

3
 Office of the Florida Attorney General, Florida New Motor Vehicle Arbitration
Board Quarterly Case Summary for 4th Quarter (October 2008 - December 2008),
available at http://myfloridalegal.com/webfiles.nsf/WF/MRAY-
7SAJZG/$file/Oct-Dec08.pdf.


                                        - 17 -
Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 18 of 67




   Mercedes knows about it, they have a technical service
   bulletin to address it, so apparently they’ve had enough
   complaints on this where it rose to the level of having to
   deal with it. The way they deal with it is they use the
   disinfectant to clean, and if you read the TSB, you’ve
   got to get in there and make sure you clean the whole
   evaporator as much as possible … Mercedes has
   admitted that, yeah, there is a problem, that this is the
   best they know how to fix it. … So nothing that they’ve
   done has made the smell completely disappear.
   …
   You know, that’s one way to look at it in terms of how
   strong the odor is. Another way to look at it is that the
   cure doesn’t work. And this is going to be with her and
   the vehicle for as long as she has the vehicle. That’s the
   way it looks, because she’s coming back in and that’s
   why I was questioning him, because I wanted to see if
   they found the problem and here’s the solution to the
   problem. There is no real solution. In other words, they
   haven’t come up with anything to say, I mean, change
   this and there’s not going to be anymore accumulation of
   water and, in fact, in other models, from what he’s
   saying, they don’t have that problem because whatever
   the engineering is, it prevents it. And on this model, it’s
   not there. So, you know, it’s sort of like a defect, which
   they are trying to deal with, and they can’t really deal
   with it in all the cases.
   …
   there’s really not a fix for the vehicle. And there
   shouldn’t be a smell to the vehicle. This is a vehicle
   that, to me, the fact that the smell persists is substantial
   in itself. I think that this is a substantial problem that
   this vehicle has with this smell. It’s not going to go
   away. There’s nothing you can do that’s going to say
   we’re going to eliminate the smell in this car. It’s just
   not gonna happen. There’s no remedy to get rid of the



                               - 18 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 19 of 67




             smell, period. We’re going to do this and it’s going to
             fix it. And I have a problem with that. … it’s just a
             design problem issue.

      79.    Mercedes knew or should have known of the HVAC System Defect
from at least as early as this arbitration hearing in 2008.

      C.     Mercedes Knew of the HVAC System Defect from Its Own
             Technical Service Bulletins.
      80.    Mercedes’s knowledge of the HVAC System Defect is also evident in
“Technical Service Bulletins” (TSBs) issued by Mercedes concerning moldy
smells emanating from the HVAC Systems in the Class Vehicles.
      81.    On Mar 5, 2007, Mercedes issued a Technical Service Bulletin “T-B-
83.30/91a” instructing its service centers that for “Air Conditioning Musty/Moldy
Odor Complaints: Use MB Contra Sept cleaner.”
      82.    On June 5, 2009, Mercedes issued Technical Service Bulletin
“LI83.30-P-045340,” titled “Air Conditioning Musty/Moldy Odor Complaints,”
which stated that “Under certain environmental conditions, typically in a hot and
humid climate, the vehicle may emit a musty/moldy odor from the air conditioning
system. This may be more noticeable when starting the vehicle due to a residual
condensation on the evaporator and interior surface of the heater box.” Further,
the TSB indicates Mercedes knows the problem will recur despite the cleaning
procedure recommended in the TSB: “To reduce the possibility of this condition to
reoccur, advise the owner to operate the blower at a higher speed, especially
during humid conditions. For vehicles with a REST function, it also helps to use
this feature during humid conditions when parking the car.”
      83.    On September 22, 2011, Mercedes issued Technical Service Bulletin
“LI83.00-P-051588” titled “Smell of Mold, Decay or Urine from Ventilation,”



                                         - 19 -
           Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 20 of 67




which stated “A moldy (foul) odor can typically occur for a short time after engine
start in all vehicles with air conditioning, is a technically inherent effect which
likewise cannot be eliminated by cleaning the evaporator.”
      84.     On June 23, 2016, Mercedes issued Technical Service Bulletin
“LI83.30-P-059119” titled “Odor from Air Conditioning,” which acknowledges
that “In the first few minutes after an engine start, damp air may be blown out
(‘laundry smell’). This is due to natural causes, repairs do not remedy the
problem.”

      D.      Mercedes Knew of the HVAC System Defect from Repair Data.
      85.     Mercedes also knew or should have known about the HVAC System
Defect because of the large number of HVAC System services, repairs, cleaning
treatments, and component replacements made during the Class Vehicles’ warranty
periods.
      86.     Upon information and belief, Mercedes collects, reviews, and
analyzes detailed information about repairs made on vehicles still under warranty
at its dealerships and service centers, including the type and frequency of such
repairs.4 Complete data on such repairs is exclusively within Mercedes’s control
and unavailable to Plaintiffs without discovery.

      E.      Mercedes Knew of the HVAC System Defect Based on Its Receipt
              of Large Numbers of Orders for Replacement Cabin Air Filters.
      87.     Upon information and belief, Mercedes also knew or should have
known about the HVAC System Defect because of the higher-than-expected


4
 For example, in the Fattah arbitration hearing, Mercedes’s counsel testified that
Mercedes received a “motor vehicle defect notification” after at least three repairs
for the HVAC System odor.


                                         - 20 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 21 of 67




number of replacement cabin air filters ordered from Mercedes, which should have
alerted Mercedes that the HVAC System Defect existed and affected a wide range
of its vehicles.
       88.    Upon information and belief, Mercedes-authorized service centers use
replacement parts that they order directly from Mercedes. Therefore Mercedes
would have detailed and accurate data regarding the number and frequency of
replacement part orders, including replacement cabin air filters. The ongoing high
sales of replacement cabin air filters and cleaning supplies (e.g., Contra Sept) was
(or should have been) known to Mercedes, and alerted Mercedes that its HVAC
Systems were defective and causing Class Vehicles’ HVAC Systems to emit
moldy odors frequently and consistently.

       F.     Mercedes Knew of the HVAC System Defect Gained from Class
              Member Complaints Made Directly to Mercedes.
       89.    Mercedes also knew or should have known about the HVAC System
Defect because numerous consumer complaints regarding failures of the HVAC
System were made directly to Mercedes. The large number of complaints, and the
consistency of their descriptions of the HVAC System Defect and the related mold
formation and foul, noxious odors that the Defect caused in the Class Vehicles,
alerted or should have alerted Mercedes to this serious defect affecting a wide
range of its vehicles.
       90.    The full universe of complaints made directly to Mercedes about the
HVAC System Defect is information presently in the exclusive custody and control
of Mercedes and is not yet available to Plaintiffs prior to discovery. However, upon
information and belief, many Class Vehicle owners complained directly to
Mercedes and Mercedes dealerships about the repeated HVAC System failures




                                        - 21 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 22 of 67




their vehicles experienced. For example, some instances of these direct-to-
Mercedes complaints are described in Class Vehicle owners’/lessees’ complaints
logged with NHTSA ODI and posted on online vehicle owner forums:5
              “My car smells like mildew and moldy. I have taken it to the dealer
               about 3 times about this situation. I have respiratory problems and
               allergies and I can hardly used this car, it stinks and bothers my
               breathing” Complaint in NHTSA ODI database, ODI ID No.
               10342816, date of incident October 28, 2008.
              Took my 09 C300 in to MB for a moldy smell. Wife just called
               and said they want $155.00. Car has 24,000 on it. Question
               shouldn't this be covered under warranty?” Posted on
               benzworld.org/forums/ in March 2011.
              “I have a 2006 E350 that has developed a noticeable musty/mold
               smell emitting from the a/c system. Car is under warranty,
               dealership is just changing parts in hopes of stumbling across the
               problem. To date they have changed the cabin air filter and done
               the service bulletin on system clean-out, replaced the condenser
               …. Anyway, now I notice a distinct mold smell coming from the
               front, outside area of the car when it's parked in the garage. I have
               been on my knees crawling all around the car and cannot nail the
               source. The dealership service writer is useless as I probably could
               leave a voicemail for the mechanic and probably do better. Car
               always garaged in Palm Beach area. Any clues? Thanks.” Posted
               on peachparts.com in April 2007.

      91.    In a similar action, an owner of a Class Vehicle sent a notice letter to
Mercedes, on August 17, 2015, expressly notifying it of the HVAC System Defect
in Class Vehicles and requesting relief on behalf of himself and similarly situated
individuals. A true and correct copy of said notice letter is attached as Exhibit A.



5
 For these and other customer complaints quoted in this Complaint, quotes are left
as written, except that those originally in all-caps have been changed to sentence
case. Due to the sheer number of typographical and grammatical errors, [sic]
notation has not been used. Any emphasis has been added, unless otherwise noted.


                                        - 22 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 23 of 67




       92.    As the above sampling of complaints shows, Class Vehicle owners
have been vocal in complaining directly to Mercedes about the HVAC System
Defect, and the number and consistency of their complaints should have alerted
Mercedes to the existence of the HVAC System Defect.

       G.     Mercedes Knew of the HVAC System Defect from Class Member
              Complaints Collected by NHTSA’s Office of Defect Investigations.
       93.    In addition to complaints made directly to Mercedes, many Class
Vehicle owners lodged complaints about the HVAC System Defect with NHTSA’s
Office of Defect Investigations (“NHTSA ODI”), beginning as early as 2008, and
likely earlier.
       94.    Federal law requires automakers like Mercedes to be in close contact
with NHTSA regarding potential auto defects, including imposing a legal
requirement, backed by criminal penalties for violation, of confidential disclosure
of defects by automakers to NHTSA, including field reports, customer complaints,
and warranty data. See TREAD Act, Pub. L. No. 106-414, 114 Stat. 1800 (2000).
       95.    Thus, automakers should and do monitor NHTSA databases for
consumer complaints regarding their automobiles as part of the automakers
ongoing obligation to identify potential defects in their vehicles, including design-
related defects, such as failures of HVAC Systems to filter air and emit air free of
mold and odors as intended.
       96.    From its monitoring of the NHTSA databases, Mercedes knew or
should have known of the many complaints about HVAC System failure logged by
NHTSA ODI, and the content, consistency, and large number of those complaints
alerted, or should have alerted, Mercedes to the HVAC System Defect.




                                        - 23 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 24 of 67




      97.   NHTSA’s publicly available ODI database contains only complaints
made in the past five years on its website; thus complaints made before 2012 are
not readily accessible. Mercedes, however, had contemporaneous and on-going
access to the NHTSA consumer complaint data and that information cannot be
obtained by Plaintiffs without discovery. A sampling of the publicly available
complaints lodged with NHTSA ODI to which Plaintiffs have been able to gain
access, however, includes those quoted above, as well as the following:
             “Molds and mildew build up in the air condition ducts placing
              people who are susceptible for infection (people with weak
              immune system) at risk for fatal infection. The dealer stated that
              this is a known and common condition for this car because the AC
              box does not drain the condensed water. This is because the way
              the car was designed. The dealer recommended turning off the AC
              for 30 seconds while keeping just the fan on every time before
              turning off the car to dry up the condensed water on the AC coils,
              not practical. The dealer has a known service to disinfect the AC
              system but because of the car design could not guarantee that the
              condition will not return. There is no warning or any instructions in
              the manual regarding this potentially fatal condition for susceptible
              people.” Complaint in NHTSA ODI database, ODI ID No.
              1065573, date of incident July 12, 2014.
             “My car smells like mildew and moldy. I have taken it to the dealer
              about 3 times about this situation. I have respiratory problems and
              allergies and I can hardly used this car, it stinks and bothers my
              breathing” Complaint in NHTSA ODI database, ODI ID No.
              10342816, date of incident October 28, 2008.

      98.   As the above sampling of complaints makes clear, Class Vehicle
owners and lessees have been vocal in complaining to NHTSA ODI about the
HVAC System Defect since at least 2008, and Mercedes was, or should have been,
aware of and monitoring those complaints, and thus should have known about the
HVAC System Defect since at least 2008, if not earlier.




                                       - 24 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 25 of 67




      H.    Mercedes Knew of the HVAC System Defect Based on Class
            Member Complaints on Public Online Forums.
      99.   In addition to complaints made directly to Mercedes and collected by
NHTSA ODI, many Class Vehicle owners posted complaints about the HVAC
System Defect on public online vehicle owner forums. The following is a small
sampling of such complaints:
             “Took my 09 C300 in to MB for a moldy smell. Wife just called
              and said they want $155.00. Car has 24,000 on it. Question
              shouldn't this be covered under warranty?” Posted on
              benzworld.org/forums/ in March 2011.
             “Definitely a strong odor coming from the HVAC system that
              makes it a little embarrassing to have others ride along in your
              "luxury" automobile. Any advice on how to completely correct this
              would be appreciated.” Posted on www.repairpal.com.
             “Crayon type smell in the HVAC system that is so pungent that the
              wife can't even stand to be in the car.” www.repairpal.com
             “I have noticed a very bad or mushy smell when I start my car with
              A/C off( after I have shut the car for sometime and the AC was
              running when i shut the car). This gets better in 10-15 seconds
              after I turn the AC on. The smell is a very strong smell of moisture
              with stangnant air.... Does anyone have the same experience? I am
              worried as it might be a problem with my cabin air filter. My car is
              only 3000miles on it. Thanks” Posted on mbworld.org/forums/ in
              March 2012.
             “Whenever i turn the air on, the first 30 seconds it smells really
              bad, i have to pen the windows till it clears out. I checked all the
              filters already. Any idea how can i make it smell nice/normal??
              thnx alot,Lina.” Posted on answers.yahoo.com in 2007.
             “My wife complained that our 2014 S550 also had musty dirty
              socks smell 7 months after purchase. I confirmed the smell and my
              wife's multiple friends confirmed the “sour stinking socks smell”. I
              took the car (S550) to the FJ Newport but they say unable to
              comfirm the smell and told us to pick up the car. They also say that
              they don't have any known problem with 2014 S550 and further
              say that the advisor is told to not take the car in the shop unless



                                       - 25 -
Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 26 of 67




      they can verify the smell. I guess all dealer techs are very
      insensitive to smells.^^ So we had to pick up the car and bring the
      car back home. We stopped driving the S550 for a while (weeks)
      until we are sure of mold free. Because both my wife and I have a
      certain genetric marker and also have compromised auto immune
      system and we cannot deal with any mold issue if there exists.”
      Posted on mbworld.org in December 2014.
    “My problem concerns a 2001 C320 with 60,000 miles. The
     climate control emits a extremely musty sower smell from the air
     vents when the vehicle is first started with the AC on. I presume
     the air ducts are clear of anything that might smell as the smell is
     absent when in the heat mode. I have wondered if the problem
     might be related to the AC charging system, receiver/drier, or a
     condensation drain tube etc. I know little or nothing about my MB
     AC. Any thoughts or advice are appreciated before I start
     dismantling & throw parts at it.” Posted on www.mbca.org in
     October 2004.
    “I have a 2006 E350 that has developed a noticeable musty/mold
     smell emitting from the a/c system. Car is under warranty,
     dealership is just changing parts in hopes of stumbling across the
     problem. To date they have changed the cabin air filter and done
     the service bulletin on system clean-out, replaced the condenser
     (left out some MAJOR, blue, 12 point bolts found under the mat).
     All seat bolts are installed and are black in color. Anyway, now I
     notice a distinct mold smell coming from the front, outside area of
     the car when it's parked in the garage. I have been on my knees
     crawling all around the car and cannot nail the source. The
     dealership service writer is useless as I probably could leave a
     voicemail for the mechanic and probably do better. Car always
     garaged in Palm Beach area. Any clues? Thanks.” Posted on
     peachparts.com in April 2007.
    “I am going to start this by copying the information that I sent to
     the Nevada DMW and to Mercedes corporate as well as the
     dealership. Mercedes WILL NOT respond to our complaints and
     neither will the dealership. Here is a background on this terrible car
     that is a big waste of money! We purchased the vehicle on
     December 3, 2011. On December 20, 2011, with only 648 miles on
     the vehicle, the vehicle had to be towed out of our garage due to an
     issue with the transmission. The transmission gave out. Had to be
     reassembled. On May 2, 2012, with 4,280 miles on the vehicle, we
     brought it in because of a terrible moldy, wet smell coming from



                             - 26 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 27 of 67




               the air vents. The air filter was removed, replaced and was put into
               the blowers. The AC system was also revitalized. The smell came
               back within two days. The dealership did not fix this problem.”
               Posted on forum.edmunds.com in February 2013.
             “Visitor, 2006 Mercedes-Benz C230, 45,000 mi. Smelly mildew
              hvac.” Posted on repairpal.com/mildew-in-heater-box-403.
             “The heating, ventilation and AC (HVAC) heater box is
              susceptible to mildew buildup. This can result in a musty odor
              from the HVAC system, most noticeable when the system is first
              turned on.” Posted on repairpal.com/mildew-in-heater-box-403.
             “We just dropped our 2015 ML 350 off at the dealership due to an
              extreme vinegar emmis[s]ion from the ac. The tech said it will be
              $330 to clean/flush and replace the filter as this issue is NOT
              covered under the bumper to bumper war[r]anty. Its a very
              common problem, apparently, as he gave us his very "rehearsed"
              answer as to why this happens. (The condensation has nowhere to
              escape and becomes moldy). He suggested we park it on a slope
              and that we should turn off the ac 5 mins before we arrive at our
              destination ! I dont think that we should have to babysit the ac in a
              luxury car! He also said that ALL luxury cars have this issue. Well,
              we've owned Audi's, BMW's and Lexus products all with NO ac
              issues. So I'm calling BS on Mercedes and I believe that they have
              know about this issue for years and should be including this
              service cost in the waranty. Plus, from what I've read this will
              happen often, its not a 1 time fix.” Posted on benzworld.org in
              February 2016.

      100. As shown by this small sampling of complaints from websites such as
www.mbworld.com, www.benzworld.com, www.repairpal.com,
www.answers.yahoo.com, www.mbca.org, www.edmunds.com, and repairpal.com
consumers have been vocal in complaining about the HVAC System Defect and
the damage being caused by the Defect. A multi-billion dollar vehicle design and
manufacturing company such as Mercedes undoubtedly tracks and has tracked
such sites and was aware or should reasonably have been aware of the HVAC
System Defect in the Class Vehicles.



                                       - 27 -
           Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 28 of 67




      101. In sum, as early as 2008, and likely earlier, Mercedes was aware of
the HVAC System Defect, should have been aware of the HVAC System Defect
through the exercise of reasonable care, and/or was negligent in failing to be aware
of the HVAC System Defect, based on, among others, the following sources:
              a.    Arbitration actions against Mercedes related to the Defect;
              b.    Technical Service Bulletins evincing knowledge of moldy
smells in/from HVAC Systems issued by Mercedes to its dealerships and service
centers;
              c.    Detailed data gathered by Mercedes about large number of
HVAC System Defect servicings;
              d.    Knowledge Mercedes had of the large number of replacement
HVAC System component parts and cleaners ordered from Mercedes;
              e.    Numerous and consistent vehicle owner complaints made
directly to Mercedes about the HVAC System Defect;
              f.    Numerous and consistent vehicle owner complaints collected
by NHTSA ODI about the HVAC System Defect;
              g.    Numerous and consistent vehicle owner complaints made on
online vehicle owner forums; and
              h.    Mercedes service center employees’ familiarity with and
knowledge of the HVAC System Defect.
      102. Moreover, the large number and consistency of Class Member
complaints describing the HVAC System Defect’s propensity to cause a moldy
odor to emit from the air-conditioning underscores the fact that Class Members
considered the HVAC System Defect to be a material issue to the reasonable
consumer.



                                       - 28 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 29 of 67




                              Applicable Warranties
      103. Mercedes sold Class Vehicles with a “New Vehicle Limited
Warranty” which included, among other warranties, protections against
DEFECTS:
             Mercedes-Benz USA, LLC (MBUSA) warrants to the
             original and each subsequent owner of a new Mercedes
             Benz vehicle that any authorized Mercedes-Benz Center
             will make any repairs or replacements necessary, to
             correct defects in material or workmanship arising
             during the warranty period. …
             This warranty is for 48 months or 50,000 miles,
             whichever occurs first.” …Warranty repairs will be
             made at no charge for parts and labor.6

      104. Mercedes represents that its Certified Pre-Owned (“CPO”) vehicles
“are backed by one of the most comprehensive certified pre-owned warranties
available.” The program includes a warranty for 12 months or up to 100,000 total
accumulated vehicles miles. Mercedes represents that its CPO vehicles are factory-
backed and the limited warranty provides up to five years or 100,000 total vehicle
accumulated miles of coverage.
      105. Both Mercedes’s New Vehicle Limited Warranty and its Certified
Pre-Owned Limited Warranty and Extended Warranty extend coverage to the
climate control system, which includes the HVAC System.
      106. Based on Plaintiffs’ experiences and reports from other consumers,
Mercedes refuses to cover the nonpermanent “fixes” under warranty, and instead


6
 A true and correct copy of the 2013 Service and Warranty Booklet applicable to
Plaintiff Amin’s vehicle is attached as Exhibit B. A true and correct copy of the
Service and Warranty Booklet applicable to Plaintiff Patel’s vehicle is attached as
Exhibit C. The two booklets appear to be identical in all relevant respects.


                                       - 29 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 30 of 67




requires Class Members pay out of pocket for these nonpermanent “fixes” for the
HVAC System Defect even if Class Members’ vehicle remained under warranty at
the time.

                    Mercedes’s Marketing and Concealment
      107. Upon information and belief, Mercedes knowingly manufactured and
sold the Class Vehicles with the HVAC System Defect, while willfully concealing
the true inferior quality and sub-standard performance of the Class Vehicles’
HVAC Systems.
      108. Mercedes directly markets the Class Vehicles to consumers via
extensive nationwide, multimedia advertising campaigns on television, the
Internet, billboards, print publications, mailings, and through other mass media.
      109. Mercedes’s marketing material describes the various Class Vehicles
as “state-of-the-art,” “luxury,” “fine craftsmanship,” and “the most advanced
vehicles on the road.” Mercedes slogan for its vehicles is “the best or nothing.”
      110. Although Mercedes knew of the HVAC Systems’ propensity to pool
water and foster the growth of mold and other odor-causing growths, it failed to
notify Plaintiffs and Class Members of this prior to their purchase of the vehicle.
      111. Mercedes also touts “a rigorous 27-point service checklist to keep
your Mercedes-Benz running effortlessly for the next 10,000,” implying that Class
Vehicles will require less-frequent maintenance than other vehicles. This 27-point
service checklist includes pre-road test checks of the air cleaner/filter and climate
control system.
      112. Mercedes marketing materials advertised the vehicles as ‘enjoyable’
to ‘everyone’ and ‘soothing’ and “filters dust and pollen as small as 0.0002” from
the air. It also promoted videos stating its vehicles are “engineering excellence”



                                        - 30 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 31 of 67




and “an automotive masterpiece.” Furthermore, it stated, “Soothing. Standard dual-
zone automatic climate control allows the driver and front passenger to enjoy
individualized comfort in any season. The system filters dust and pollen from the
cabin, while a sensor monitors the angle and intensity of sunlight for more even
control of temperature.” This led Plaintiffs and Class Members to form a
reasonable belief and expectation that mold/mildew and foul smells would not
emanate from Class Vehicles’ HVAC Systems if contained in the air and certainly
caused the reasonable consumer not to expect that the vehicle itself would harbor
and facilitate the growth of organic materials regularly giving rise to foul odors
making the use of Class Vehicles anything but soothing or enjoyable.
      113. Further, Mercedes represents that its Certified Pre-Owned vehicles
must “meet stringent criteria and pass a rigorous inspection.” This certification
process involves a 164-point inspection, which includes a test of “Automatic
Climate Control Function, Regulation, Display, Odors.” Mercedes promises that
CPO vehicle purchasers “get industry-leading coverage.”
      114. According to its consumer brochures, “[t]he Mercedes-Benz Certified
Pre-Owned vehicle offers safety, performance and reliability.” Vehicles that have
been Certified Pre-Owned purportedly have passed a thorough certification
inspection. According to its CPO consumer brochure, all Mercedes CPO vehicles
undergo a “climate control inspection” during a road test conducted by a
Mercedes-Benz technician and “[a]ny noted deficiencies are repaired, replaced or
reconditioned” before the vehicle is sold.
      115. In practice, the Class Vehicles are not as comfortable or enjoyable as
Mercedes’s marketing represents. Mercedes concealed the fact that its so-called
“Luxury” Class Vehicles, which supposedly are “the most advanced vehicles on



                                        - 31 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 32 of 67




the road,” are instead not even comfortable or enjoyable under ordinary conditions
because the HVAC Systems repeatedly and consistently emit foul moldy odors into
the passenger cabin.
      116. Plaintiffs and Class Members were exposed to Mercedes’s long-term,
national, multimedia marketing campaign touting the supposed sophistication and
comfort of the Class Vehicles, and Class Members justifiably made their decisions
to purchase/lease their Class Vehicles based on Mercedes’s misleading marketing
that concealed the true, defective nature of the Class Vehicles’ HVAC Systems.
      117. Further, Mercedes knowingly misled Class Members about the true,
defective nature of the Class Vehicles. As detailed above, upon information and
belief, Mercedes has been aware of the HVAC System Defect since at least 2008,
and likely earlier, through arbitration actions, technical service bulletins, the high
number of HVAC System servicings and replacement component part sales, and
the numerous and consistent complaints about the HVAC System Defect made
directly to Mercedes, collected by NHTSA and posted in public online forums.
      118. Despite Mercedes’s knowledge of the Defect, Mercedes told Class
Members who called its customer service about the HVAC System Defect that
Mercedes had never heard of the problem before and that no others had reported
issues with their Class Vehicles’ HVAC Systems, and made Class Members pay
for temporary “band aid” repair measures out-of-pocket.
      119. In sum, Mercedes has actively concealed the existence and nature of
the HVAC System Defect from Class Members since at least 2008 despite its
knowledge of the existence and pervasiveness of the HVAC System Defect, and
certainly well before Plaintiffs and Class Members purchased or leased their Class
Vehicles. Specifically, Mercedes has:



                                         - 32 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 33 of 67




             a.     Failed to disclose, at and after the time of purchase, lease,
and/or service, any and all known material defects of the Class Vehicles, including
the HVAC System Defect;
             b.     Failed to disclose, at and after the time of purchase, lease,
and/or service, that the Class Vehicles’ HVAC Systems were defective and not fit
for their intended purposes;
             c.     Failed to disclose, and actively concealed, the fact that the Class
Vehicles’ HVAC Systems were defective, despite the fact that Mercedes learned of
the HVAC System Defect as early as 2008, and likely even earlier;
             d.     Failed to disclose, and actively concealed, the existence and
pervasiveness of the HVAC System Defect even when directly asked about it by
Class Members during communications with Mercedes, Mercedes Customer
Assistance, Mercedes dealerships, and Mercedes service centers;
             e.     Actively concealed the HVAC System Defect by forcing Class
Members to bear the cost of temporary measures to address the moldy smells,
while at the same time performing those services at no (or lower) cost for those
who complained vocally and often, and calling these “goodwill” services;
             f.     Actively concealed the HVAC System Defect by repeatedly
treating the mold and odors with temporary measures such as flushing the system,
replacing filters, and using cleansers, while leaving the defective HVAC Systems
as they were, so that the HVAC System Defect has never been permanently
corrected in Class Members’ vehicles, even though Class Members were led to
believe that the services had cured the moldy odor problem in their vehicles; and
             g.     Actively concealed the HVAC System Defect by knowingly
selling and installing replacement cabin air filters and using cleansers in Class



                                        - 33 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 34 of 67




Vehicles, while knowing and concealing that these temporary measures would not
prevent the recurrence of mold formation and foul, noxious odors because the
HVAC Systems remained defectively designed.
      120. By engaging in the conduct described above, Mercedes has concealed,
and continues to conceal, the HVAC System Defect from Class Members. If Class
Members had knowledge of the information Mercedes concealed, they would not
have bought or leased the Class Vehicles, or would have paid less for them.

                       Fraudulent Concealment Allegations
      121. Absent discovery, Plaintiffs are unaware of, and unable through
reasonable investigation to obtain, the true names and identities of those
individuals at Mercedes responsible for disseminating false and misleading
marketing materials and information regarding the Class Vehicles. Mercedes
necessarily is in possession of or has access to all of this information. Plaintiffs’
claims arise out of Mercedes’s fraudulent concealment of the HVAC System
Defect and the foul moldy air it causes, and its representations about the quality,
world-class quality, sophistication, state-of-the-art performance and comfort of the
Class Vehicles’ HVAC Systems. To the extent that Plaintiffs’ claims arise from
Mercedes’s fraudulent concealment, there is no one document or communication,
and no one interaction, upon which Plaintiffs base their claims. Plaintiffs allege
that at all relevant times, including specifically at the time they purchased or leased
their Class Vehicles, Mercedes knew, or was reckless in not knowing, of the
HVAC System Defect; Mercedes was under a duty to disclose the Defect based
upon its exclusive knowledge of it, its affirmative representations about it, and its
concealment of it; and Mercedes never disclosed the Defect to the Plaintiffs or the
public at any time or place or in any manner.



                                         - 34 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 35 of 67




      122. Plaintiffs make the following specific fraud allegations with as much
specificity as possible although they do not have access to information necessarily
available only to Mercedes:
             A.    Who: Mercedes actively concealed the HVAC System Defect
from Plaintiffs and Class Members while simultaneously touting the safety,
comfort, sophistication, and world-class quality of the Class Vehicles, as alleged in
paragraphs 107-120 supra. Plaintiffs are unaware of, and therefore unable to
identify, the true names and identities of those specific individuals at Mercedes
responsible for such decisions.
             B.    What: Mercedes knew, or was reckless or negligent in not
knowing, that the Class Vehicles contain the HVAC System Defect, as alleged
above in paragraphs 72-102 supra. Mercedes concealed the Defect and made
contrary representations about the safety, comfort, sophistication, and world-class
quality, and other attributes of the Class Vehicles, as specified above in paragraphs
107-120 supra.
             C.    When: Mercedes concealed material information regarding the
Defect at all times and made representations about the world-class quality,
sophistication, state-of-the-art safety and comfort of the Class Vehicles, starting no
later than 2008, or at the subsequent introduction of certain models of Class
Vehicles to the market, continuing through the time of sale/lease, and on an
ongoing basis, and continuing to this day, as alleged above in paragraphs 107-120
supra. Mercedes has not disclosed the truth about the Defect in the Class Vehicles
to anyone outside of Mercedes. Mercedes has never taken any action to inform
consumers about the true nature of the Defect in Class Vehicles. And when
consumers brought their Class Vehicles to Mercedes complaining of the foul



                                        - 35 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 36 of 67




moldy odors, Mercedes denied any knowledge of or responsibility for the HVAC
System Defect, and in many instances, actually blamed owners/lessees for causing
the odor/problem.
             D.     Where: Mercedes concealed material information regarding the
true nature of the Defect in every communication it had with Plaintiffs and Class
Members and made contrary representations about the world-class quality,
sophistication, state-of-the-art safety and comfort of the Class Vehicles. Plaintiffs
are aware of no document, communication, or other place or thing, in which
Mercedes disclosed the truth about the Defect in the Class Vehicles to anyone
outside of Mercedes. Such information is not adequately disclosed in any sales
documents, displays, advertisements, warranties, owner’s manual, or on
Mercedes’s website.
             E.     How: Mercedes concealed the HVAC System Defect from
Plaintiffs and Class Members and made representations about the world-class
quality, sophistication, state-of-the-art safety and comfort of the Class Vehicles.
Mercedes actively concealed the truth about the existence and nature of the Defect
from Plaintiffs and Class Members at all times, even though it knew about the
Defect and knew that information about the Defect would be important to a
reasonable consumer and Mercedes promised in its marketing materials that Class
Vehicles have qualities that they do not have.
             F.     Why: Mercedes actively concealed material information about
the Defect in Class Vehicles for the purpose of inducing Plaintiffs and Class
Members to purchase or lease Class Vehicles, rather than purchasing or leasing
competitors’ vehicles and made representations about the world-class quality,
sophistication, state-of-the-art safety and comfort of the Class Vehicles. Had



                                        - 36 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 37 of 67




Mercedes disclosed the truth, for example in its advertisements or other materials
or communications, Plaintiffs (and reasonable consumers) would have been aware
of it, and would not have bought Class Vehicles or would have paid less for them.

              TOLLING OF THE STATUTE OF LIMITATIONS

                         Fraudulent Concealment Tolling
      123. Upon information and belief, Mercedes has known of the HVAC
System Defect in the Class Vehicles since at least 2008, and has concealed from or
failed to notify Plaintiffs, Class Members, and the public of the full and complete
nature of the HVAC System Defect, even when directly asked about it by Plaintiffs
and Class Members during communications with Mercedes, Mercedes Customer
Assistance, Mercedes dealerships, and Mercedes service centers. Mercedes
continues to conceal the Defect to this day.
      124. Any applicable statute of limitation has been tolled by Mercedes’s
knowledge, active concealment, and denial of the facts alleged herein, which
behavior is ongoing.

                                      Estoppel
      125. Mercedes was and is under a continuous duty to disclose to Plaintiffs
and Class Members the true character, quality, and nature of the Class Vehicles.
Mercedes actively concealed – and continues to conceal – the true character,
quality, and nature of the Class Vehicles and knowingly made representations
about the quality, world-class quality, sophistication, state-of-the-art safety and
comfort of the Class Vehicles. Plaintiffs and Class Members reasonably relied
upon Mercedes’s knowing and affirmative representations and/or active




                                        - 37 -
          Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 38 of 67




concealment of these facts. Based on the foregoing, Mercedes is estopped from
relying on any statutes of limitation in defense of this action.

                                   Discovery Rule
      126. The causes of action alleged herein did not accrue until Plaintiffs and
Class Members discovered that their Class Vehicles contained the HVAC System
Defect.
      127. However, Plaintiffs and Class Members had no realistic ability to
discern that the Class Vehicles were defective until – at the earliest – after the
HVAC System Defect caused their Vehicles to develop mold and emit foul,
noxious odors. Even then, Plaintiffs and Class Members had no reason to know the
foul moldy odors were caused by a defect in the Class Vehicles because of
Mercedes’s active concealment of the HVAC System Defect. Not only did
Mercedes fail to notify Plaintiffs or Class Members about the HVAC System
Defect, Mercedes in fact denied any knowledge of or responsibility for the HVAC
System Defect when directly asked about it, and, in many instances, actually
blamed the owner/lessee for causing the odor/problem. Thus Plaintiffs and Class
Members were not reasonably able to discover the HVAC System Defect until
after they had purchased or leased the Class Vehicles, despite their exercise of due
diligence, and their causes of action did not accrue until, at earliest, they
discovered that the HVAC System Defect was causing their Vehicles to form mold
and emit foul, noxious odors.

                                  Prior Class Action
      128. Plaintiffs Amin and Patel, along with several other plaintiffs,
previously filed a class action complaint in the Central District of California on
May 9, 2016. Manan Bhatt, et al. v Mercedes-Benz USA, LLC, No. 2:16-cv-03171-



                                         - 38 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 39 of 67




TJH-RAO (C.D. Cal.). Plaintiffs Amin and Patel’s individual claims were
dismissed without prejudice on procedural grounds on March 9, 2017. The
limitations period applicable to Plaintiffs’ claims was tolled during the time their
claims were pending before the Central District of California.

                                    Notice Letters
      129. As noted elsewhere in this Complaint, see paragraphs 91 supra
(referring to Exhibit A hereto) and 211 infra (referring to Exhibit D hereto), letters
have been transmitted to Mercedes notifying it of the allegations raised in this
Complaint. Accordingly, the running of any statute of limitations period or other
time limit applicable to the claims set forth in this Complaint was stopped, and any
such period or limit is subject to tolling.

                        CLASS ACTION ALLEGATIONS
      130. Plaintiffs bring this lawsuit as a class action on behalf of themselves
and all other similarly situated individuals pursuant to Federal Rules of Civil
Procedure 23(a) and (b)(3), (b)(2), and/or (c)(4). This action satisfies the
numerosity, commonality, typicality, adequacy, predominance, and superiority
requirements of those provisions.
      131. Plaintiffs bring this class action on behalf of themselves and all other
similarly situated members of the proposed class (the “Class”), defined as follows:
             All residents of Georgia who purchased or leased a Class
             Vehicle with the HVAC System. A “Class Vehicle” is a
             vehicle of any of the following models/model years:
             2004-2012 Mercedes A-Class,
             2001-2017 Mercedes C-Class,
             2000-2014 Mercedes CL-Class,
             2013-2017 Mercedes CLA-Class,
             2003-2009 Mercedes CLK-Class,



                                          - 39 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 40 of 67




             2004-2017 Mercedes CLS-Class,
             2003-2016 Mercedes E-Class,
             2007-2017 Mercedes GL-Class,
             2010-2016 Mercedes GLK-Class,
             2006-2016 Mercedes M-Class,
             2017 Mercedes GLE-Class,
             2006-2015 Mercedes R-Class,
             1999-2017 Mercedes S-Class,
             2003-2012 Mercedes SL-Class,
             2004-2016 Mercedes SLK-Class, or
             2002-2013 Maybach 57 and 62.

      132. Excluded from the Class are: (1) Mercedes, any entity or division in
which Mercedes has a controlling interest, and its legal representatives, officers,
directors, assigns, and successors; (2) the Judge to whom this case is assigned and
the Judge’s staff; (3) governmental entities; and (4) claims for personal injuries
resulting from the facts alleged herein. Plaintiffs reserve the right to amend the
Class definitions if discovery and further investigation reveal that the Class should
be expanded, divided into subclasses, or modified in any other way.

                                     Numerosity
      133. Although the exact number of Class Members is uncertain and can
only be ascertained through appropriate discovery, the number is great enough
such that joinder is impracticable. The disposition of the claims of these Class
Members in a single action will provide substantial benefits to all parties and to the
Court. Class Members are readily identifiable from information and records in
Mercedes’s possession, custody, or control, as well as from records kept by the
Department of Motor Vehicles.




                                        - 40 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 41 of 67




                                      Typicality
      134. The claims of the Plaintiffs are typical of the claims of Class Members
in that the Plaintiffs, like all Class Members, purchased or leased a Class Vehicle
designed, manufactured, and distributed by Mercedes. The Plaintiffs, like all Class
Members, have been damaged by Mercedes’s misconduct in that they have
purchased a vehicle they would not have purchased, or for which they would have
paid less, and incurred or will incur the cost of service relating to and caused by the
HVAC System Defect. Furthermore, the factual bases of Mercedes’s misconduct
are common to the Plaintiffs and all Class Members and represent a common
thread of misconduct resulting in injury to the Plaintiffs and all Class Members.

                             Adequate Representation
      135. Plaintiffs will fairly and adequately represent and protect the interests
of the Class Members. Plaintiffs have retained counsel with substantial experience
in prosecuting consumer class actions, including actions involving defective
automotive vehicles.
      136. Plaintiffs and their counsel are committed to vigorously prosecuting
this action on behalf of the Class, and have the financial resources to do so. Neither
Plaintiffs nor their counsel has interests adverse to those of the Class.

                         Predominance of Common Issues
      137. There are numerous questions of law and fact common to Plaintiffs
and Class Members, the answers to which will advance resolution of the litigation
as to all Class Members, and which predominate over any individual question.
These common legal and factual issues include:
             A.     whether the HVAC System in the Class Vehicles is defective;




                                         - 41 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 42 of 67




             B.     whether Mercedes knew or should have known about the
HVAC System Defect, and, if so, how long Mercedes knew or should have known
of the Defect;
             C.     whether the defective nature of the Class Vehicles constitutes a
material fact reasonable consumers would have considered in deciding whether to
purchase a Class Vehicle;
             D.     whether Mercedes had and/or has a duty to disclose the
defective nature of the Class Vehicles to Plaintiffs and Class Members;
             E.     whether Mercedes omitted and failed to disclose material facts
about the Class Vehicles;
             F.     whether Mercedes’s concealment of the true defective nature of
the Class Vehicles induced Plaintiffs and Class Members to act to their detriment
by purchasing Class Vehicles;
             G.     whether Mercedes represented, through its words and conduct,
that the Class Vehicles had characteristics, uses, or benefits that they did not
actually have, in violation of Georgia’s Fair Business Practices Act (“Georgia
FBPA”);
             H.     whether Mercedes represented, through its words and conduct,
that the Class Vehicles were of a particular standard, quality, or grade when they
were of another, in violation of the Georgia FBPA;
             I.     whether Mercedes advertised the Class Vehicles with the intent
not to sell them as advertised, in violation of the Georgia FBPA;
             J.     whether Mercedes’s affirmative misrepresentations about the
true defective nature of the Class Vehicles were likely to create confusion or




                                        - 42 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 43 of 67




misunderstanding, and therefore fraudulent, within the meaning of Georgia’s
Uniform Deceptive Trade Practices Act (“Georgia UDTPA”).
             K.     whether Mercedes’s affirmative misrepresentations about the
true defective nature of the Class Vehicles were and are deceptive within the
meaning of the Georgia UDTPA.
             L.     whether the Class Vehicles were unfit for the ordinary purposes
for which they were used, in violation of the implied warranty of merchantability;
             M.     whether Plaintiffs and the other Class Members are entitled to a
declaratory judgment stating that the HVAC Systems in Class Vehicles are
defective and/or not merchantable;
             N.     whether Plaintiffs and Class Members are entitled to equitable
relief, including, but not limited to, a preliminary and/or permanent injunction;
             O.     whether Mercedes should be declared financially responsible
for notifying Class Members of the problems with the Class Vehicles and for the
costs and expenses of permanently remedying the HVAC System Defect in the
Class Vehicles; and
             P.     whether Mercedes is obligated to inform Class Members of
their right to seek reimbursement for having paid to diagnose, service, repair, or
replace the defective HVAC Systems.

                                     Superiority
      138. Plaintiffs and Class Members have all suffered and will continue to
suffer harm and damages as a result of Mercedes’s unlawful and wrongful conduct.
A class action is superior to other available methods for the fair and efficient
adjudication of this controversy.




                                        - 43 -
          Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 44 of 67




      139. Absent a class action, most Class Members would likely find the cost
of litigating their claims prohibitively high and would therefore have no effective
remedy at law. Because of the relatively small size of the individual Class
Members’ claims, it is likely that only a few Class Members could afford to seek
legal redress for Mercedes’s misconduct. Absent a class action, Class Members
will continue to incur damages, and Mercedes’s misconduct will continue without
remedy.
      140. Class treatment of common questions of law and fact would also be a
superior method to multiple individual actions or piecemeal litigation in that class
treatment will conserve the resources of the courts and the litigants, and will
promote consistency and efficiency of adjudication.

                           FIRST CAUSE OF ACTION
                            Breach of Express Warranty
                    (this cause of action against MBUSA only)
      141. Plaintiffs incorporate by reference each allegation set forth in the
preceding paragraphs.
      142. MBUSA is and was at all relevant times a “merchant” with respect to
motor vehicles, and specifically the Class Vehicles, under, inter alia, O.C.G.A.
§ 11-2-104(1), and “sellers” of motor vehicles, and specifically the Class Vehicles,
under, inter alia, O.C.G.A. § 11-2-103(1)(d); and, with respect to leases, is and was
at all relevant times a “lessor” of motor vehicles, and specifically the Class
Vehicles, under, inter alia, O.C.G.A. § 11-2A-103(1)(p).
      143. The Class Vehicles are and were at all relevant times “goods” within
the meaning of, inter alia, O.C.G.A. §§ 11-2-105 and 11-9-102(a)(45).




                                        - 44 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 45 of 67




      144. Plaintiffs and Class Members bought or leased Class Vehicles
manufactured, marketed to them, and intended to be purchased by consumers such
as them, by Mercedes.
      145. MBUSA expressly warranted the Class Vehicles against defects
including the HVAC System Defect, as described above, within the meaning of,
inter alia, O.C.G.A § 11-2-313(1).
      146. MBUSA’s express warranties formed a basis of the bargain that was
reached when Class Members purchased or leased their Class Vehicles.
      147. As described above, the HVAC System in the Class Vehicles is
defective. The HVAC System Defect substantially impairs the use, value, and
safety of the Class Vehicles to reasonable consumers, including Plaintiff and Class
Members.
      148. MBUSA knew of the HVAC System Defect, and that this Defect
poses serious safety risks to consumers like Plaintiffs and Class Members, when it
expressly warranted against the Defect, wrongfully and fraudulently concealed
material facts regarding the Defect, failed to inform Class Members that the Class
Vehicles had the Defect, and induced Plaintiffs and Class Members to purchase or
lease the Class Vehicles under false and/or fraudulent pretenses.
      149. Specifically, Class Vehicles were sold to Plaintiffs and Class
Members with a new vehicle 48-month and 50,000-mile express warranty. 7
      150. Plaintiffs and Class Members were either in privity with MBUSA as
original purchasers or lessees, or otherwise afforded the benefits of the express

7
 A true and correct copy of the 2013 Service and Warranty Booklet applicable to
Plaintiff Amin’s vehicle is attached as Exhibit B. A true and correct copy of the
Service and Warranty Booklet applicable to Plaintiff Patel’s vehicle is attached as
Exhibit C. The two booklets appear to be identical in all relevant respects.


                                        - 45 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 46 of 67




warranty as subsequent purchasers because the warranty itself states: “...warrants
to the original and each subsequent owner...” See Exhibit B, page 11.
      151. Pursuant to Page 11 of the 2013 Service and Warranty Booklet,
MBUSA warranted to the original and each subsequent owner that they “will make
any repairs or replacements necessary, to correct defects in materials and
workmanship arising under the warranty period.”
      152. MBUSA breached its express warranties by supplying the Class
Vehicles to Plaintiffs and Class Members with the HVAC System Defect.
      153. MBUSA is obligated, under the terms of its express warranties, to
make repair and/or replacements to permanently correct the HVAC System Defect
for Plaintiffs and Class Members.
      154.   As more fully detailed above, MBUSA was provided with
appropriate notice and has been on notice of the Defect and of its breach of express
written warranties from various sources.
      155. The Class Vehicles were under this express warranty when they
exhibited the HVAC System Defect.
      156. Plaintiffs gave MBUSA a reasonable opportunity to cure its failures
with respect to its warranties, and MBUSA failed to do so free of charge or at all.
      157. MBUSA breached its express warranties by failing to permanently
repair the Class Vehicles and by failing to provide to Plaintiff or Class Members,
as a warranty replacement, a product that conforms to the qualities and
characteristics that it expressly warranted when it sold the Class Vehicles to
Plaintiff and Class Members.
      158. Affording MBUSA a reasonable opportunity to cure its breach of
written warranties was unnecessary and futile here. When Plaintiffs and other



                                        - 46 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 47 of 67




Class Members provided such notice and sought relief under the warranty,
MBUSA refused to do so and charged them for temporary, inadequate “fixes.”
      159. To the extent any express warranties do not by their terms cover the
defects alleged in this Complaint, and to the extent the contractual remedy is in any
other respect insufficient to make Plaintiffs and Class Members whole, the
warranties fail of their essential purpose and, accordingly, recovery by Plaintiffs
and Class Members is not restricted to the promises in any written warranties, and
they seek all remedies that may be allowed.
      160. Any attempt by MBUSA to limit or disclaim the express warranties in
a manner that would exclude coverage of the HVAC System Defect is
unconscionable as a matter of law because the relevant purchase/lease transactions
were tainted by MBUSA’s concealment of material facts. Thus any such effort by
MBUSA to disclaim, or otherwise limit, its liability for the HVAC System Defect
is null and void.
      161.    As a direct and proximate result of MBUSA’s breach of express
warranties, Plaintiffs and Class Members received goods that are unreasonably
dangerous and have substantially impaired value, and they have suffered
incidental, consequential, and other damages, including out-of-pocket costs and the
costs of needed present and future repairs, in an amount to be determined at trial,
and are entitled to the relief requested infra.

                         SECOND CAUSE OF ACTION
         Breach of Express Warranty – Magnuson-Moss Warranty Act
                   (this cause of action against MBUSA only)
      162. Plaintiffs incorporate by reference each allegation set forth in the
preceding paragraphs.




                                         - 47 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 48 of 67




      163. The Class Vehicles are consumer products as defined in 15 U.S.C.
§ 2301(1).
      164. Plaintiffs and Class Members are consumers as defined in 15 U.S.C.
§ 2301(3).
      165. MBUSA is a supplier and warrantor as defined in 15 U.S.C.
§§ 2301(4) and (5).
      166. MBUSA provided Plaintiffs and Class Members with “written
warranties” within the meaning of 15 U.S.C. § 2301(6).
      167. MBUSA breached the Express Warranty by refusing to honor the
express warranty to replace or repair, free of charge, any defective vehicle
component, including defects within the climate control system, which contains the
HVAC System.
      168. At the time Class Vehicles were sold, MBUSA knew of the defects
they possessed and offered an Express Warranty with no intention of honoring said
warranty with respect to the known defects.
      169. Additionally, pursuant to 15 U.S.C. § 2304(d)(1), “the warrantor may
not assess the consumer for any costs the warrantor or his representatives incur in
connection with the required remedy of a warranted product . . . [I]f any incidental
expenses are incurred because the remedy is not made within a reasonable time or
because the warrantor imposed an unreasonable duty upon the consumer as a
condition of securing remedy, then the consumer shall be entitled to recover
reasonable incidental expenses which are so incurred in any action against the
warrantor.”
      170. At no time has MBUSA offered a permanent or adequate repair or
replacement of the HVAC System that would permanently prevent the moldy odor



                                        - 48 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 49 of 67




from recurring. Despite repeated demands by Plaintiffs and Class Members that
MBUSA pay the labor costs and incidental expenses associated with permanently
repairing or replacing the HVAC System, and with the temporary measures
MBUSA has offered instead, MBUSA has refused to do so. MBUSA’s refusal to
provide an adequate repair or replacement and to pay for its installation violates 15
U.S.C. § 2304(d)(1).
      171. MBUSA was afforded a reasonable opportunity to cure its breach of
the Express Warranty, but failed to do so.
      172. As a direct and proximate result of MBUSA’s breach of its express
written warranties, Plaintiffs and Class Members have been damaged in an amount
to be proven at trial.

                           THIRD CAUSE OF ACTION
                            Breach of Implied Warranty
                    (this cause of action against MBUSA only)
      173. Plaintiffs incorporate by reference each allegation set forth in the
preceding paragraphs.
      174. When it sold its Class Vehicles, MBUSA extended an implied
warranty to Class Members that the subject vehicles were merchantable and fit for
the ordinary purpose for which such goods were sold.
      175. Persons who purchased a vehicle from MBUSA are entitled to the
benefit of their bargain: a vehicle with a nondefective HVAC System that does not
emit moldy air.
      176. MBUSA breached this implied warranty in that its Class Vehicles are
(1) not fit for ordinary use, and (2) not of a merchantable quality.




                                        - 49 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 50 of 67




      177. Had the fact that the HVAC System Defect existed been disclosed at
the time of sale, the Class Vehicles could not have been sold, or could not have
been sold at the same price.
      178. As a direct and proximate result of MBUSA’s breach of the implied
warranty of merchantability, Plaintiffs and Class Members have been damaged in
an amount to be proven at trial.

                        FOURTH CAUSE OF ACTION
        Breach of Implied Warranty – Magnuson-Moss Warranty Act
                  (this cause of action against MBUSA only)
      179. Plaintiffs incorporate by reference each allegation set forth in the
preceding paragraphs.
      180. Plaintiffs and Class Members are consumers as defined in 15 U.S.C.
§ 2301(3).
      181. Defendant MBUSA is a supplier and warrantor as defined in 15
U.S.C. §§ 2301(4) and (5).
      182. Defendant MBUSA is a supplier and warrantor as defined in 15
U.S.C. § 2301(4) and (5).
      183. The subject Class Vehicles are consumer products as defined in 15
U.S.C. § 2301(1).
      184. MBUSA extended an implied warranty to Plaintiffs and Class
Members by operation of 15 U.S.C. § 2301(7), and this implied warranty covers
defects in its Class Vehicles and its Class Vehicles’ HVAC Systems.
      185. MBUSA breached this implied warranty by selling its Class Vehicles
with defective HVAC Systems that were neither merchantable nor fit for their
intended purpose.




                                       - 50 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 51 of 67




      186. MBUSA extended an implied warranty to Plaintiffs and Class
Members by operation of 15 U.S.C. § 2301(7), and this implied warranty covers
defects in the subject Class Vehicles’ HVAC Systems.
      187. MBUSA breached this implied warranty by selling Class Vehicles
that were neither merchantable nor fit for their intended purpose.
      188. As a direct and proximate result of MBUSA’s breach of the implied
warranty under the Magnuson-Moss Act, Plaintiffs and Class Members have been
damaged in an amount to be proven at trial.

                          FIFTH CAUSE OF ACTION
                Violations of Georgia Fair Business Practices Act
                          (O.C.G.A. § 10-1-390, et seq.)
      189. Plaintiffs incorporate by reference each allegation set forth in the
preceding paragraphs.
      190. MBUSA and Daimler are each a “person” as defined by the Georgia
Fair Business Practices Act (“Georgia FBPA”). O.C.G.A. § 10-1-392(a)(24).
      191. Plaintiffs and Class Members are “consumers” within the meaning of
the Georgia FBPA. O.C.G.A. § 10-1-392(a)(6).
      192. The purchase or lease of Class Vehicles by Plaintiffs and Class
Members constituted “consumer transactions” as defined by the Georgia FBPA.
O.C.G.A. § 10-1-392(a)(10).
      193. The Georgia FBPA declares “[u]nfair or deceptive acts or practices in
the conduct of consumer transactions and consumer acts or practices in trade or
commerce” to be unlawful, O.C.G.A. § 10-1-393(a), including but not limited to
“representing that goods or services have sponsorship, approval, characteristics,
ingredients, uses, or benefits that they do not have,” “[r]epresenting that goods or




                                        - 51 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 52 of 67




services are of a particular standard, quality, or grade … if they are of another,”
and “[a]dvertising goods or services with intent not to sell them as advertised,” id.
§§ 10-1-393(b)(5), (7) & (9).
      194. By failing to disclose the defective nature of the Class Vehicles to
Plaintiffs and Class Members, Mercedes violated the Georgia FBPA, because
Mercedes represented that the Class Vehicles had characteristics and benefits that
they do not have, and represented that the Class Vehicles were of a particular
standard, quality, or grade (i.e. state-of-the-art, comfortable, etc.) when they were
of another. See O.C.G.A. §§ 10-1-393(b)(5) & (7).
      195. Mercedes advertised the Class Vehicles (as state-of-the-art,
comfortable, etc.) with the intent not to sell them as advertised, in violation of
§ 10-1-393(b)(9).
      196. Mercedes’s unfair and deceptive acts or practices occurred repeatedly
in Mercedes’s course of trade or business, were material, were capable of
deceiving a substantial portion of the purchasing public, and as a result, caused
economic harm to owners and purchasers of the Class Vehicles.
      197. Mercedes knew, by 2008 at the latest, and certainly before the sale or
lease of the Class Vehicles, that the Class Vehicles’ HVAC Systems suffered from
an inherent design defect, would exhibit problems such as mold growth and the
emission of foul and noxious odors, and were not suitable for their intended use.
      198. By 2008 at the latest, Mercedes had exclusive knowledge of material
facts concerning the existence of the HVAC System Defect in its Class Vehicles.
Furthermore, Mercedes actively concealed this Defect from consumers by denying
the existence of the Defect to Class Members who contacted Mercedes about the




                                         - 52 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 53 of 67




moldy smell, and failing to offer Class Members a permanent solution to the
HVAC System Defect.
      199. Mercedes was under a duty to Plaintiffs and Class Members to
disclose the defective nature of the HVAC Systems, as well as the associated costs
that would have to be repeatedly expended in order to repair the Class Vehicles
due to the HVAC System Defect, because:
      200. Mercedes was in a superior position to know the true state of facts
about the HVAC System Defect in the Class Vehicles;
      201. Plaintiffs and Class Members could not reasonably have been
expected to learn or discover that the Class Vehicles had the HVAC System Defect
until, at the earliest, the first instance of moldy smell occurring in their Vehicles;
and
      202. Mercedes knew that Plaintiffs and Class Members could not
reasonably have been expected to learn or discover the HVAC System Defect prior
to its manifestation.
      203. Mercedes knew or should have known that its conduct violated the
Georgia FBPA.
      204. In failing to disclose the defective nature of the Class Vehicles, and/or
denying and misleading as to the true cause and remedy of the noxious foul odor,
Mercedes knowingly and intentionally concealed material facts and breached its
duty not to do so.
      205. The facts Mercedes concealed from Plaintiffs and Class Members are
material in that a reasonable consumer would have considered them to be
important in deciding whether to purchase or lease a Class Vehicle. Moreover, a
reasonable consumer would consider the HVAC System Defect to be an



                                         - 53 -
          Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 54 of 67




undesirable quality, as Plaintiffs and Class Members did. Had Plaintiffs and Class
Members known that the Class Vehicles had the HVAC System Defect, they
would not have purchased or leased a Class Vehicle, or would have paid less for
them.
        206. Plaintiffs and Class Members, like all objectively reasonable
consumers, did not expect the HVAC System in their vehicles to cause the growth
of mold and mildew within the HVAC System, or emit moldy and noxious odors
through the HVAC System vents.
        207. As a result of Mercedes’s misconduct, Plaintiffs and Class Members
have been harmed and suffered actual damages including in that the Class Vehicles
repeatedly manifest mold growth and emit foul smells due to the HVAC System
Defect, causing inconvenience, creating an uncomfortable environment for Vehicle
occupants, and causing Plaintiffs and Class Members to spend money to repeatedly
repair or temporarily fix the recurring odors caused by the Defect.
        208. As a direct and proximate result of Mercedes’s unfair or deceptive
acts or practices, Plaintiffs and Class Members suffered and will continue to suffer
actual damages in that they have experienced and may continue to experience their
Class Vehicles’ HVAC Systems growing mold and emitting noxious odors, for
which there is no permanent fix, and for which they must pay out of pocket.
        209. Mercedes’s violations present a continuing risk to Plaintiffs and to the
general public. Mercedes’s unlawful acts and practices complained of herein affect
the public interest.
        210. Plaintiffs and Class Members are entitled to equitable relief.
        211. Mercedes received proper notice of its alleged violations of the
Georgia FBPA pursuant to O.C.G.A. § 10-1-399(b), via a letter sent to MBUSA



                                        - 54 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 55 of 67




and its registered service agent on January 29, 2016. The notice letter is attached
hereto as Exhibit D. Through counsel, Mercedes denied the existence of any
defect, did not offer to repair Mr. Amin or anyone else’s vehicles, did not offer to
compensate out-of-pocket expenses for all those who have incurred them, and did
not guarantee to honor warranty claims for this defect going forward. Instead, it
offered only a small sum to resolve Mr. Amin’s individual claim alone. Further,
Mercedes characterized the problem as “a maintenance issue,” presumably
implying that all purchasers who have experienced foul odors failed to properly
maintain their Class Vehicles. Mr. Amin found this response from Mercedes to be
unsatisfactory.
      212. Thus, pursuant to O.C.G.A. § 10-1-399, Plaintiffs seek, in addition to
equitable relief, actual and statutory damages, attorneys’ fees and expenses, treble
damages, and punitive damages as permitted under the Georgia FBPA and
applicable law.

                        SIXTH CAUSE OF ACTION
        Violations of Georgia’s Uniform Deceptive Trade Practices Act
                         (O.C.G.A. § 10-1-370, et seq.)
      213. Plaintiffs incorporate by reference each allegation set forth in the
preceding paragraphs.
      214. Mercedes, Plaintiffs, and Class Members are “persons” within the
meaning of Georgia’s Uniform Deceptive Trade Practices Act (“Georgia
UDTPA”). O.C.G.A. § 10-1-371(5).
      215. The Georgia UDTPA prohibits “deceptive trade practices” which
include the “misrepresentation of standard, quality, or grade of goods and
services,” “engaging in any other conduct which similar creates a likelihood of




                                        - 55 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 56 of 67




confusion or misunderstanding,” and “representing that goods or services have
sponsorship, approval, characteristics, ingredients, uses, or benefits that they do not
have,” and “[a]dvertising goods or services with intent not to sell them as
advertised.” O.C.G.A. § 10-1-372.
      216. By failing to disclose the defective nature of the Class Vehicles to
Plaintiffs and Class Members, Mercedes engaged in deceptive trade practices in
violation of the Georgia UDTPA, because Mercedes represented that the Class
Vehicles had characteristics and benefits that they do not have, and represented
that the Class Vehicles were of a particular standard, quality, or grade (i.e. state-of-
the-art, comfortable, etc.) when they were of another. See O.C.G.A. §§ 10-1-
372(5), (7), (9).
      217. Mercedes advertised the Class Vehicles (as state-of-the-art,
comfortable, etc.) with the intent not to sell them as advertised, in violation of
O.C.G.A. § 10-1-372(12).
      218. Mercedes’s unfair and deceptive acts or practices occurred repeatedly
in Mercedes’s course of trade or business, were material, were capable of
deceiving a substantial portion of the purchasing public, and as a result, caused
economic harm on owners and purchasers of the Class Vehicles.
      219. Mercedes knew, by 2008 at the latest, and certainly before the sale or
lease of the Class Vehicles, that the Class Vehicles’ HVAC Systems suffered from
an inherent design defect, would exhibit problems such as mold growth and the
emission of foul and noxious odors, and were not suitable for their intended use.
      220. By 2008 at the latest, Mercedes had exclusive knowledge of material
facts concerning the existence of the HVAC System Defects in its Class Vehicles.
Furthermore, Mercedes actively concealed these defects from consumers by



                                         - 56 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 57 of 67




denying the existence of the defects to Class Members who contacted Mercedes
about the moldy smell, and failing to offer Class Members a permanent solution to
the HVAC System Defect.
      221. Mercedes was under a duty to Plaintiffs and Class Members to
disclose the defective nature of the HVAC Systems, as well as the associated costs
that would have to be repeatedly expended in order to repair the Class Vehicles
due to the HVAC System Defect, because, inter alia:
             A.     Mercedes was in a superior position to know the true state of
facts about the HVAC System Defect in the Class Vehicles;
             B.     Plaintiffs and Class Members could not reasonably have been
expected to learn or discover that the Class Vehicles had the HVAC System Defect
until, at the earliest, the first instance of moldy smells occurring; and
             C.     Mercedes knew that Plaintiffs and Class Members could not
reasonably have been expected to learn or discover the HVAC System Defect prior
to its manifestation.
      222. Despite possessing information to the contrary, Mercedes failed to
disclose and actively concealed the Defect while continuing to market the Class
Vehicles as comfortable, world-class, and reliable. The deception made reasonable
consumers believe that Class Vehicles were of high quality and designed and made
by a company that stood behind its vehicles once they were on the road.
      223. Mercedes knew or should have known that its conduct violated the
Georgia UDTPA.
      224. In failing to disclose the defective nature of the Class Vehicles, and/or
denying and misleading as to the true cause and remedy of the noxious foul odor,




                                         - 57 -
           Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 58 of 67




Mercedes knowingly and intentionally concealed material facts and breached its
duty not to do so.
         225. The facts Mercedes concealed from Plaintiffs and Class Members are
material in that a reasonable consumer would have considered them to be
important in deciding whether or not to purchase or lease a Class Vehicle.
Moreover, a reasonable consumer would consider the HVAC System Defect to be
an undesirable quality, as Plaintiffs and Class Members did. Had Plaintiffs and
Class Members known that the Class Vehicles had the HVAC System Defect, they
would not have purchased or leased a Class Vehicle, or would have paid less for
them.
         226. Plaintiffs, like all objectively reasonable consumers, did not expect
the HVAC System in their vehicles to cause the growth of mold and mildew within
the HVAC System, or emit moldy and noxious odors through the HVAC System
vents.
         227. As a result of Mercedes’s misconduct, Plaintiffs and Class Members
have been harmed and suffered actual damages in that the Class Vehicles
repeatedly manifest mold growth and emit foul smells due to the HVAC System
Defect, causing inconvenience, creating an uncomfortable and unsafe environment
for vehicle occupants, and causing Class Members to spend money to repeatedly
repair or temporarily fix the recurring odors caused by the Defect.
         228. As a direct and proximate result of Mercedes’s unfair or deceptive
acts or practices, Plaintiffs and Class Members have suffered and will continue to
suffer actual damages in that they have experienced and may continue to
experience their Class Vehicles’ HVAC Systems growing mold and emitting




                                         - 58 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 59 of 67




noxious odors, for which there is no permanent fix and for which they must pay
out of pocket.
      229. Mercedes’s violations present a continuing risk to Plaintiffs and to the
general public. Mercedes’s unlawful acts and practices complained of herein affect
the public interest.
      230. As a direct and proximate result of Mercedes’s violations of the
Georgia UDTPA, Plaintiffs and Class Members have suffered injury-in-fact and/or
actual damage.
      231. Plaintiffs seek an order enjoining Mercedes’s unfair, unlawful, and/or
deceptive practices, attorneys’ fees, and any other just and proper relief available
under the Georgia UDTPA and applicable law.

                       SEVENTH CAUSE OF ACTION
                 Breach of Implied Warranty of Merchantability
      232. Plaintiffs incorporate by reference each allegation set forth in the
preceding paragraphs.
      233. Georgia law states that “a warranty that the goods shall be
merchantable is implied in a contract for their sale if the seller is a merchant with
respect to goods of that kind.” O.C.G.A. § 11-2-314.
      234. Mercedes is a merchant with respect to the goods which it sold to
Plaintiffs and Class Members.
      235. The goods that Mercedes provided to Plaintiffs and Class Members
were unmerchantable at the time they were sold. Specifically, the Class Vehicles
contained HVAC Systems emitting foul odors rendering them not fit for ordinary
use as automobiles, not able to pass without objection, not of fair average quality
and not conforming with promises and affirmations made.




                                        - 59 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 60 of 67




      236. Mercedes’s failure to provide merchantable vehicles was a breach of
the implied warranty of merchantability, and Plaintiff and the other Class Members
were damaged in an amount to be proven at trial.

                         EIGHTH CAUSE OF ACTION
                            Fraud by Concealment
      237. Plaintiffs incorporate by reference each allegation set forth in the
preceding paragraphs.
      238. Mercedes concealed and suppressed material facts concerning the
quality of the Class Vehicles.
      239. Mercedes concealed and suppressed material facts concerning the
quality of the HVAC Systems in the Class Vehicles.
      240. Mercedes concealed and suppressed material facts concerning the
serious HVAC System Defect causing Class Vehicles’ HVAC Systems to emit
strong foul odors. Upon information and belief, the Defect lies in the evaporator
and evaporator box deep within the dashboards of the Class Vehicles. Mercedes
knew that Plaintiffs and Class Members would not be able to inspect or otherwise
detect the Defect prior to purchasing or leasing the vehicles. Mercedes furthered
and relied upon this lack of disclosure to further promote payments for temporary
measures to abate (but not eliminate) the moldy smells, and in some cases accused
Plaintiffs and Class Members of causing the problem – all the while concealing the
true nature of the Defect from Plaintiffs and Class Members. Mercedes further
denied the very existence the Defect and the propensity of foul odors when
Plaintiffs and Class Members complained of the Defect.
      241. Mercedes concealed and suppressed material facts that point to the
nature of the Defect being a faulty evaporator design, a $400 to $800 or more part




                                       - 60 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 61 of 67




requiring extensive labor and parts to replace and instead pushed “fixes” consisting
of filter changes and cleanings which are temporary at best.
      242. Mercedes committed the foregoing acts and omissions in order to
boost confidence in its vehicles and falsely assure purchasers and lessees of
Mercedes vehicles, that the Class Vehicles were world class, comfortable,
warranted and reliable vehicles and concealed the information in order to prevent
harm to Mercedes and its products’ reputations in the marketplace and to prevent
consumers from learning of the defective nature of the Class Vehicles prior to their
purchase or lease. These false representations and omissions were material to
consumers, both because they concerned the quality of the Class Vehicles and
because the representations and omissions played a significant role in the decision
to purchase or lease the Class Vehicles.
      243. Mercedes had a duty to disclose the Defect in the Class Vehicles
because they were known and/or accessible only to Mercedes; Mercedes had
superior knowledge and access to the facts; and Mercedes knew the facts were not
known to, or reasonably discoverable, by Plaintiffs and Class Members. Mercedes
also had a duty to disclose because it made many general affirmative
representations about the quality, warranty, and lack of defects in the Class
Vehicles as set forth above, which were misleading, deceptive, and/or incomplete
without the disclosure of the additional facts set forth above regarding their actual
quality, comfort, and usability. Even when faced with complaints regarding the
Defect, Mercedes misled and concealed the true cause of the symptoms
complained of. As a result, Class Members were misled as to the true condition of
the Class Vehicles once at purchase/lease and again when the moldy smell was
complained of to Mercedes. The omitted and concealed facts were material



                                        - 61 -
         Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 62 of 67




because they directly impact the value, appeal, and usability of the Class Vehicles
purchased or leased by Plaintiffs and Class Members. Whether a manufacturer’s
products are as stated by the manufacturer, backed by the manufacturer, and usable
for the purpose it was purchased, are material concerns to a consumer.
      244. Mercedes actively concealed and/or suppressed these material facts, in
whole or in part, to protect its reputation, sustain its marketing strategy, avoid
recalls that would hurt the brand’s image and cost money, and did so at the
expense of Plaintiffs and Class Members.
      245. On information and belief, Mercedes has still not made full and
adequate disclosure and continues to defraud Plaintiffs and Class Members and
conceal material information regarding the Defect that exists in the Class Vehicles.
      246. Plaintiffs and Class Members were unaware of these omitted material
facts and would not have acted as they did had they known of the concealed and/or
suppressed facts, i.e., they would not have purchased or leased Class Vehicles, or
would have paid less for them. Plaintiffs and Class Members’ actions were
justified. Mercedes was in exclusive control of the material facts and such facts
were not known to the public, Plaintiffs, or Class Members.
      247. Because of the concealment and/or suppression of the facts, Plaintiffs
and Class Members sustained damage because they negotiated and paid value for
the Class Vehicles not considerate of the Defect that Mercedes failed to disclose
and paid for temporary measures and replacement parts to attempt to remedy the
Defect. Had they been aware of the concealed Defect that existed in the Class
Vehicles, Plaintiffs would have paid less for their vehicles or would not have
purchased or leased them at all.




                                         - 62 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 63 of 67




      248. Accordingly, Mercedes is liable to Plaintiffs and Class Members for
damages in an amount to be proven at trial.
      249. Mercedes’s acts were done maliciously, oppressively, deliberately,
with intent to defraud, and in reckless disregard of Plaintiffs and Class Members’
rights and well-being to enrich Mercedes. Mercedes’s conduct warrants an
assessment of punitive damages in an amount sufficient to deter such conduct in
the future, which amount is to be determined according to proof.

                          NINTH CAUSE OF ACTION
                              Unjust Enrichment
      250. Plaintiffs incorporate by reference each allegation set forth in the
preceding paragraphs.
      251. Mercedes has been unjustly enriched by the Plaintiffs and Class
Members through Plaintiffs’ and Class Members’ purchasing and/or leasing Class
Vehicles from Mercedes and purchasing replacement parts and service from
Mercedes that Plaintiffs and Class Members would not have purchased but for the
HVAC System Defect and Mercedes’s concealment of the same.
      252. Plaintiffs and Class Members unknowingly conferred a benefit on
Mercedes of which Mercedes had knowledge, since Mercedes was aware of the
defective nature of its Class Vehicles’ HVAC Systems and the resultant moldy
odor problems, but failed to disclose this knowledge and misled Plaintiffs and the
Class Members regarding the nature and quality of the subject Class Vehicles
while profiting from this deception.
      253. The circumstances are such that it would be inequitable,
unconscionable, and unjust to permit Mercedes to retain the benefit of revenue that
it unfairly obtained from Plaintiffs and Class Members. This revenue include the




                                       - 63 -
        Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 64 of 67




premium price Plaintiffs and the Class paid for the Class Vehicles and the cost of
the parts and service bought from Mercedes used to temporarily alleviate the
moldy odor emitted by the HVAC Systems.
      254. Plaintiffs and the other members of the Class, having been damaged
by Mercedes’s conduct, are entitled to recover or recoup damages as a result of the
unjust enrichment of Mercedes to their detriment.

                              RELIEF REQUESTED
      255. Plaintiffs, on behalf of themselves, and all others similarly situated,
request the Court to enter judgment against Mercedes, as follows:
             A.     an order certifying the proposed Class and/or any appropriate
subclasses, designating Plaintiffs as named representatives of the Class, and
designating the undersigned as Class Counsel;
             B.     a declaration that the HVAC Systems in Class Vehicles have a
Defect that results in the emission of a moldy smell into the Vehicle’s cabin, and
that this Defect requires disclosure;
             C.     a declaration that Mercedes must, at its own expense, notify
owners and lessees of Class Vehicles of the Defect;
             D.     a declaration that any limitation on the Class Vehicles’
warranty that would avoid responsibility for the Defect is void;
             E.     an order enjoining Mercedes to reassess all prior warranty
claims related to smells in vehicle cabins;
             F.     an ordering enjoining Mercedes, upon a Class Member’s
request, to pay the cost of inspection to determine whether the Defect is manifest,
with any coverage disputes adjudicated by a special master.




                                        - 64 -
           Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 65 of 67




               G.    an order enjoining Mercedes from further deceptive
distribution, sales, and lease practices with respect to the Class Vehicles, and to
permanently repair the Class Vehicles so that they no longer possess the HVAC
System Defect;
               H.    an award to Plaintiffs and Class Members of compensatory,
exemplary, and statutory damages, including interest, in an amount to be proven at
trial;
               I.    an order requiring Mercedes to disgorge, for the benefit of
Plaintiffs and Class Members, all or part of the ill-gotten revenue it received from
the sale or lease of the Class Vehicles, or make full restitution thereof to Plaintiffs
and Class Members;
               J.    an award of attorneys’ fees and costs, as allowed by law;
               K.    an award of pre-judgment and post-judgment interest, as
provided by law;
               L.    leave to amend this Complaint to conform to the evidence
produced at trial; and
               M.    such other relief as may be appropriate under the circumstances.

                           DEMAND FOR JURY TRIAL
         256. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a
trial by jury of any and all issues in this action so triable of right.




                                          - 65 -
       Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 66 of 67




Dated: May 11, 2017              Respectfully submitted,



                                 By:
                                       Ketan A. Patel

                                 Ketan A. Patel (State Bar Number 121099)
                                 kp@personalinjury-ga.com
                                 CORPUS LAW PATEL, LLC
                                 PO BOX 1022
                                 Tyrone, Georgia 30290
                                 Telephone: (678) 597-8020
                                 Facsimile: (678) 826-4700


                                 Jonathan D. Selbin (pro hac vice
                                 forthcoming)
                                 jselbin@lchb.com
                                 LIEFF CABRASER HEIMANN &
                                 BERNSTEIN, LLP
                                 275 Battery Street, 29th Floor
                                 San Francisco, CA 94111
                                 Telephone: (415) 956-1000
                                 Facsimile: (415) 956-1008

                                 Annika K. Martin (pro hac vice
                                 forthcoming)
                                 akmartin@lchb.com
                                 LIEFF CABRASER HEIMANN &
                                 BERNSTEIN, LLP
                                 250 Hudson Street, 8th Floor
                                 New York, NY 10013-1413
                                 Telephone: (212) 355-9500
                                 Facsimile: (212) 355-9592

                                 Attorneys for Plaintiffs and the Proposed
                                 Class


                                   - 66 -
             Case 1:17-cv-01701-AT Document 1 Filed 05/11/17 Page 67 of 67




1345130.11




                                         - 67 -
